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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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WAYNE BALIGA,
                                                                          18-CV-11642 (VM) (VF)
                                            Plaintiff,
                                                                                ORDER
                          -against-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI, ROLAND WU, and
ZEMIN XU,

                                             Defendants.
-----------------------------------------------------------------X

VALERIE FIGUEREDO, United States Magistrate Judge

          As discussed at the conference on November 14, 2023, briefing in connection with

Baliga’s challenge to Dr. Shi’s attorneys also representing Link Motion will proceed as follows:

    •     December 1, 2023: deadline for Baliga to and the Receiver to submit opening letter

          briefs;

    •     December 22, 2023: deadline for Shi to submit responsive letter brief.

As stated at the conference, the letter briefing may not be longer than five pages. All deadlines

associated with the pending motion to dismiss are hereby stayed pending the resolution of this

matter.

          SO ORDERED.

DATED:              New York, New York
                    November 14, 2023



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                                                             VALERIE FIGUEREDO
                                                             United States Magistrate Judge


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